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                   UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


RICHARD S. TWETE,                           ) Case No. CV 19-144-BLG-SPW
                                            )
             Plaintiff,                     )
                                            )
       vs.                                  )
                                            \
                                            )
CLINTON RAY MULLIN,JR.,                     ) ORDER GRANTING
 A & C SOARING EAGLE                        ) PLAINTIFF'S UNOPPOSED
TRUCKING,INC.,ZACHARY                       ) PARTIAL MOTION TO
MULLIN,DOES 1-20,                           ) DISMISS AND UNOPPOSED
                                            ) MOTION TO CONTINUE
                          Defendants.       ) STAY
                                            )



      This matter comes before the Court on Plaintiffs Notice of Approval of

Settlement, Unopposed Partial Motion to Dismiss, and Unopposed Motion to

Continue Stay (Doc. 53). The Court having reviewed the stipulation filed in the

consolidated bankruptcy cases in Case No. 20-10103-7 pending in the United States

Bankruptcy Court for the District of Montana, and the Bankruptcy Court's Order

dated April 21, 2021 approving the Stipulation and Compromise Agreement

between Plaintiff and Defendants, and for good cause appearing,

      IT IS HEREBY ORDERED that Plaintiffs Unopposed Partial Motion to

Dismiss(Doc. 53), be and hereby is, GRANTED. Defendants,Zachary R.J. Mullin

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